         Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 1 of 10




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
                                                              :
 SECURITIES AND EXCHANGE                                      :
 COMMISSION,                                                  :
                                                              : Case No. 21 Misc. 787 (ALC)
                          Applicant,                          :
                                                              :
       -against-                                              : ECF CASE
                                                              :
 GERALD FAUTH,
                                                              :
                          Respondent.                         :
                                                              :
--------------------------------------------------------------x


   GERALD FAUTH’S RESPONSE TO THE SEC’S APPLICATION AND
                  ORDER TO SHOW CAUSE
          Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 2 of 10




                                         TABLE OF CONTENTS

                                                                                                                     Page
INTRODUCTION .....................................................................................................1

        1.        Deposition Testimony Would Pose Serious Health Risks To Mr.
                  Fauth.....................................................................................................3

        2.        The SEC Has Not Identified Any Substantial Need for
                   Immediate Deposition Testimony ........................................................5

CONCLUSION ..........................................................................................................7




                                                             i
           Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 3 of 10




                                       TABLE OF AUTHORITIES

                                                                                                                Page(s)
                                                         Cases
Carbajal v. Serra,
  No. 10-CV-02862-REB-KLM, 2012 WL 1229879 (D. Colo. Apr.
  12, 2012) ...............................................................................................................3
Cooleen v. Lamana,
  248 Fed. App’x 357 (3d Cir. 2007) ...................................................................... 4
Frideres v. Schiltz,
   150 F.R.D. 153 (S.D. Iowa 1993) ......................................................................... 3
In re McCorhill Publ’g, Inc.,
   91 B.R. 223 (Bankr. S.D.N.Y. 1988).................................................................... 3
Sec. & Exch. Comm'n v. Brigadoon Scotch Distrib. Co.,
   480 F.2d 1047 (2d Cir. 1973) ............................................................................... 3
Sperano v. Invacare Corp.,
   No. 03-CV-6157T, 2006 WL 8456080 (W.D.N.Y. Apr. 13, 2006) ..................... 5
Walsh v. Pullman Co.,
  10 F.R.D. 77 (S.D.N.Y 1948) ............................................................................... 3
                                                         Rules
Fed. R. Civ. P. 26(b)(2)(C)(i) ....................................................................................5




                                                            ii
       Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 4 of 10




                                 INTRODUCTION

      The SEC’s application for an order compelling deposition testimony by

Gerald Fauth should be denied,

                                 , and thus poses an unnecessary burden under the

applicable rules and case law.




                                          1
       Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 5 of 10




                                 But Mr. Fauth’s counsel repeatedly has offered to

answer the SEC’s questions in writing, under oath, as a way to get the SEC any

necessary factual information

Throughout the period since counsel made a detailed, 90-minute proffer (which the

DOJ found sufficient to close its investigation), the SEC has not once asked a factual

question, despite these repeated offers by counsel. Nor has the SEC explained why

written answers would be insufficient, other than a generic desire to “ask follow up

questions and refresh his recollection with documents.” Brown Decl., Ex. L.




      Accordingly, the SEC’s application should be denied or, in the alternative,

modified so that Mr. Fauth is permitted to answer the SEC’s questions in writing,

rather than by video.

                                          2
       Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 6 of 10




      1. Deposition Testimony Would Pose Serious Health Risks To Mr. Fauth
      It is well-established that a subpoena poses an unnecessary and undue

burden—and thus should be quashed or modified—when it imposes serious health

risks on the respondent. See In re McCorhill Publ’g, Inc., 91 B.R. 223, 225 (Bankr.

S.D.N.Y. 1988) (“Manifestly, if an oral deposition will pose a threat to a witness’

health, the court will exercise its discretion in favor of a protective order.”) (citing

Walsh v. Pullman Co., 10 F.R.D. 77 (S.D.N.Y 1948)); Frideres v. Schiltz, 150 F.R.D.

153, 157 (S.D. Iowa 1993) (granting protective order to potential deponent because

of poor health); Carbajal v. Serra, No. 10-CV-02862-REB-KLM, 2012 WL

1229879, at *2 (D. Colo. Apr. 12, 2012) (granting motion to quash related to

deposition testimony of “‘chronically ill’” deponent). This rule applies equally to

investigative subpoenas, which should not be enforced—even when the agency has

demonstrated a valid and relevant purpose related to its investigation—if the

subpoena is shown to be unnecessarily burdensome. See Sec. & Exch. Comm'n v.

Brigadoon Scotch Distrib. Co., 480 F.2d 1047, 1056 (2d Cir. 1973).




                                           3
       Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 7 of 10




      Dr. Herrera’s opinions are well-grounded in his clinical experience and his

close familiarity



                              . Herrera Decl. ¶¶ 4-6. Dr. Herrera’s professional

medical opinion is reliable, unrebutted by the SEC, and should be fully credited by

this Court.   See Cooleen v. Lamana, 248 Fed. App’x 357, 361 (3d Cir. 2007)

(“[C]ase law counsels that we defer to the medical judgments of physicians … .”).




                                        4
       Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 8 of 10




      2. The SEC Has Not Identified Any Substantial Need for Immediate
         Deposition Testimony
      The burden posed by the SEC’s subpoena is particularly unnecessary given

the availability of a reasonable alternative: answers to the SEC’s questions, in

writing, under oath. See Sperano v. Invacare Corp., No. 03-CV-6157T, 2006 WL

8456080, at *2 (W.D.N.Y. Apr. 13, 2006) (modifying subpoena to allow for

deposition by written question in lieu of oral testimony to “strike[ ] the appropriate

balance between the legitimate concerns for [a deponent’s] health and the parties'

rights to depose a potentially relevant witness”); Fed. R. Civ. P. 26(b)(2)(C)(i) (in

undue burden analysis, requiring consideration of “more convenient” and “less

burdensome” means of gathering information).

      As explained in the attached declaration from Mr. Fauth’s counsel, he has

repeatedly offered to provide written answers to the SEC’s questions, see Warin

Decl., Exs. 2-4, 8; see also Brown Decl., Ex. K, as a more reasonable means to

provide the investigatory information sought in light of his present medical

condition. The Commission never has provided any questions, or explained why

this option will not work, other than a generalized statement in an email to counsel

that depositions allow the SEC to “ask follow up questions and refresh his

recollection with documents.” Brown Decl., Ex. L. But nothing would prevent the

SEC from following up in writing, or from identifying which documents he should

refer to, in connection with written questions.
                                          5
       Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 9 of 10




      Similarly, the SEC has not explained or justified its sudden sense of urgency.

See Warin Decl. ¶ 15.



                                                                .

      Since receiving subpoenas related to this investigation in April and May 2020,

Mr. Fauth and his wife, Mary Fauth, collected and produced numerous relevant

documents and providing a detailed attorney proffer on June 18, 2020. See

Decl. ¶¶ 4-6. In the months since, counsel for Mr. Fauth has made clear that while

Mr. Fauth was willing to continue this cooperation through additional proffers,

written questions, or documents,

         . Id. ¶ 8. At no point until very recently did the SEC (or the DOJ, which

closed its investigation) ever suggest that Mr. Fauth’s inability to testify was a

problem. Id. ¶ 10, 15.

      The SEC still has given no explanation for why the SEC now seeks deposition

testimony with utmost urgency,

                                                               . Herrera Decl. ¶ 28.

For example, as Mr. Fauth’s counsel told the SEC shortly before it filed this motion,

                                         6
      Case 1:21-mc-00787-ALC Document 15 Filed 10/27/21 Page 10 of 10




                         .

                                 CONCLUSION

      For all these reasons, as well as those set forth in the accompanying

Declaration of Dr. Albert Herrera filed concurrently herewith, Mr. Fauth respectfully

requests that the Court modify or quash the Applicant’s May 26, 2020 Subpoena.


Dated: October 27, 2021            Respectfully submitted,

                                    /s/ F. Joseph Warin
                                   F. Joseph Warin (pro hac vice pending)
                                   Gibson, Dunn & Crutcher LLP
                                   1050 Connecticut Ave., N.W.
                                   Washington, DC 20036
                                   FWarin@gibsondunn.com
                                   Telephone: (202) 887-3609
                                   Facsimile: (202) 530-9608

                                   Counsel for Respondent Gerald Fauth




                                         7
